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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                           WICHITA FALLS DIVISION


FRANCISCAN ALLIANCE, INC.;
SPECIALTY PHYSICIANS OF
ILLINOIS, LLC,;
CHRISTIAN MEDICAL &
DENTAL ASSOCIATIONS;

- and -

STATE OF TEXAS;
STATE OF NEBRASKA;                       Civ. Action No. 7:16-cv-00108-O
COMMONWEALTH OF
KENTUCKY, by and through
Governor Matthew G. Bevin;
STATE OF KANSAS; STATE OF
LOUISIANA; STATE OF                    REPLY BRIEF IN SUPPORT OF
ARIZONA; and STATE OF                  STATE PLAINTIFFS’ RENEWED
MISSISSIPPI, by and through               MOTION FOR SUMMARY
Governor Phil Bryant,                          JUDGMENT

          Plaintiffs,

v.

ALEX M. AZAR, II, Secretary of the
United States Department of Health
and Human Services; and UNITED
STATES DEPARTMENT OF HEALTH
AND HUMAN SERVICES,

          Defendants.
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                    REPLY TO THE FEDERAL GOVERNMENT



                                     INTRODUCTION

       The federal government agrees with Plaintiffs that the Rule is unlawful under

the Administrative Procedure Act (“APA”) because it redefines sex discrimination

under section 1557 of the Affordable Care Act (“ACA”) to include gender identity and

termination of pregnancy discrimination. Defs.’ Br. 1, ECF No. 154. For this reason

alone, the Court should declare the Rule invalid and set it aside.

       Disagreement between the federal government and Plaintiffs arises over

whether the Court should address any claims other than those arising under the APA,

whether the Court should delay ruling on the pending motions, and whether the

Court should issue a nationwide injunction.

       The Court should resolve all of the parties’ claims rather than leaving further

litigation for another day, because this case is likely to end up in the Fifth Circuit. In

addition, the federal government’s repeatedly unfulfilled promises to issue a new rule

should not delay the Court any longer in ruling on Plaintiffs’ motions for summary

judgment. And to ensure uniform application of the nation’s healthcare laws and

regulations, the Court should, once again, issue a nationwide permanent injunction
against Defendants’ enforcement of the Rule.

                                        ARGUMENT

I.     The Court Should Address All of the Plaintiffs’ Claims.

       Defendants contend that the Court need only consider whether the Rule is

contrary to section 1557, and can avoid the constitutional claims. Defs.’ Br. 11, ECF

No. 154. State Plaintiffs agree the Rule is invalid under section 1557, but the Court

should resolve all of Plaintiffs’ claims and avoid leaving the case in a partially

unresolved posture.




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       The ordinary rule is that federal courts avoid deciding claims raised under the

Constitution when a dispositive non-constitutional claim is available. Nw. Austin

Mun. Util. Dist. No. One v. Holder, 557 U.S. 193, 205 (2009) (citation omitted). But

courts do not adhere to this rule with rigidity. See id. at 212 (Thomas, J., concurring

in the judgment in part and dissenting in part) (urging the Court to decide the

constitutional questions)); see also Bernard v. Gulf Oil Co., 619 F.2d 459, 463 (5th

Cir. 1980) (en banc) (deciding constitutional questions even though statutory grounds

were available).

       Here, the Court should decide all the claims because the constitutional

questions are intertwined with the statutory analysis of whether the Rule is contrary

to law under the APA. State Plaintiffs bring their constitutional claims both

independently and under the APA. See Am. Compl. Counts I–III, ¶¶ 116–210 (APA

claims), Counts XVI–XX, ¶¶ 336–83 (independent constitutional claims), Counts I–

III, ¶¶ 136, 142–46, 170, 176–79, 198, 204–07 (same constitutional claims brought

under the APA), ECF No. 21. After all, an agency rule can violate the APA if it is

unconstitutional. See FCC v. Fox Television Stations, Inc., 556 U.S. 502, 516 (2009)

(“[T]he Administrative Procedure Act separately provides for setting aside agency

action that is ‘unlawful,’ 5 U.S.C. § 706(2)(A), which of course includes
unconstitutional action”). Thus, the Rule is not only contrary to statutory authority

in section 1557, but also contrary to and in excess of authority under the Constitution.

       At oral argument on Plaintiffs’ motion for preliminary injunction, counsel

agreed that if the Court decided the APA claim, it need not decide the other claims.

Order 38 n.32, ECF No. 62. State Plaintiffs stand by that concession, but the case

was in a different posture at that time. Plaintiffs were urging the Court to issue a

preliminary injunction by December 31, 2016, and the hearing occurred on December

20, 2016—just eleven days, including Christmas, before the Rule would have taken
effect. Now, with the preliminary injunction in place, the Court is not as pressed for


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time, and rendering a complete and final ruling on all claims, as it has done in other

cases, will allow the appellate courts to resolve the case more quickly. See Texas v.

United States, 300 F. Supp. 3d 810 (N.D. Tex. 2018) (deciding an HHS rule violated

the Article I prohibition on non-delegation of legislative powers, and then analyzing

the same rule under the APA).

       Another reason to issue a ruling on all pending claims is because there is a

tendency for hotly contested cases to take on a life of their own when some claims are

left unresolved in the district court. One example is Bronx Household of Faith v.

Board of Education of City of New York, 750 F.3d 184 (2d Cir. 2014). In that case, a

church sued the New York City public school system for its decision to prohibit

community groups using the schools after hours from engaging in any form of

Christian worship. The district court and the Second Circuit repeatedly ruled on only

the freedom of speech claims, despite there being other valid free exercise and

Establishment Clause claims, and, as a result, the case continued on for 18 years. See

id. at 188 (discussing the procedural history and citing to four prior appellate court

decisions in the same case). Thus, the prudent course is to decide all the claims and

provide the Fifth Circuit with a final judgment that resolves all claims.

II.    The Plaintiffs Need Complete Relief Now.
       After Plaintiffs filed their first motion for summary judgment, the Court

allowed the federal government to stay this case pending the issuance of a new rule.

Order 10, ECF No. 105. That was nearly two years ago. There is no new rule.

       Now Defendants ask the Court to abate these proceedings yet again, based on

the empty promise that a new rule is forthcoming. But Plaintiffs’ challenge to the

Rule is ripe. Since the Court preliminarily enjoined the Rule on December 31, 2016,

the federal government has had over two years to issue a rule that complies with the

law and Constitution. But despite repeated promises, Defendants have not issued a




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notice of proposed rulemaking (“NPRM”). They have mentioned the possibility of

rulemaking in status reports but have yet to actually issue an NPRM.

         The ripeness of this APA challenge is not in question. There is no requirement

that HHS change the rule, other than the fact that it is unlawful under the APA. Cf.

Ohio Forestry Ass’n, Inc. v. Sierra Club, 523 U.S. 726, 735 (1998) (“[H]ere, the

possibility that further consideration will actually occur before the Plan is

implemented is not theoretical, but real” because the agency, under the plan, must

issue an NPRM to take implementing steps).

         The Court should not require Plaintiffs to wait longer for the clarity that a final

judgment provides. Vacatur of the Rule and a permanent injunction against its

enforcement will provide the finality that States need for their healthcare systems.

State Plaintiffs are not asking the Court to step out on a policy limb that the Fifth

Circuit will cut off. All they ask is that the Court affirm that “sex,” as defined by Title

IX for decades, means biological sex, not gender identity and termination of

pregnancy as the invalid Rule declares.1 See Wittmer v. Phillips 66 Co., 915 F.3d 328,

330 (5th Cir. 2019) (reaffirming the longstanding holding in Blum v. Gulf Oil Corp.,

597 F.2d 936 (5th Cir. 1979), that Title VII’s prohibition on “sex” discrimination does

not prohibit discrimination on the basis of sexual orientation).
         Even if HHS issues an NPRM (or the prequel to that, an advanced notice of

proposed rulemaking) before the Court decides the motions for summary judgment,

and even if there is an arguable basis to claim that the new proposed rule might moot

the case in the future, the case would not become moot anytime soon. In most

circumstances, HHS must allow the public to comment on the proposed rule and wait

1 Recently, the Supreme Court granted review in three cases on the question of whether sex
discrimination under Title VII includes discrimination based on sexual orientation or transgender
status. See Altitude Express, Inc. v. Zarda, No. 17-1623, 2019 WL 1756678, at *1 (U.S. Apr. 22, 2019);
Bostock v. Clayton Cty., No. 17-1618, 2019 WL 1756677, at *1 (U.S. Apr. 22, 2019); R.G. & G.R. Harris
Funeral Homes v. EEOC, No. 18-107, 2019 WL 1756679, at *1 (U.S. Apr. 22, 2019). The Court has not
set these cases for oral argument yet and will not hear or decide them until next term.



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at least 30 days before allowing it to take effect. 5 U.S.C. § 553(c), (d). Often, the

comment period is longer. For example, HHS waited over eight months from the

publication of the NPRM for the Rule at issue in this case to the time it issued the

final Rule. See 80 Fed. Reg. 54,172 (Sept. 8, 2015); 81 Fed. Reg. 31,375 (May 18, 2016).

Thus, the process of issuing a new final rule will take months—time the Court should

spend making the preliminary injunction permanent and issuing a final judgment

vacating and setting aside the Rule. When a case is ripe for final judgment, the Court

should decide the case, not wait for some hypothetical future event to occur.

III.     A Nationwide Permanent Injunction Will Provide                           Uniform
         Application of Federal Healthcare Laws and Regulations.
         As State Plaintiffs argued during the briefing on the motion for preliminary

injunction, “district courts enjoy broad discretion in awarding injunctive relief.” Nat’l

Mining Ass’n v. U.S. Army Corps of Eng’rs, 145 F.3d 1399, 1408 (D.C. Cir. 1998)

(citation omitted). This includes the issuance of nationwide injunctions, because the

judicial power “is not limited to the district wherein the court sits but extends across

the country. It is not beyond the power of a court, in appropriate circumstances, to

issue a nationwide injunction.” Texas v. United States, 809 F.3d 134, 188 (5th Cir.

2015) (collecting cases), aff’d by an equally divided court, 136 S. Ct. 2271 (2016).
Indeed, “courts should not be loathe to issue injunctions of general applicability,”

Hodgson v. First Fed. Sav. & Loan Ass’n of Broward Cty., 455 F.2d 818, 826 (5th Cir.

1972) (citation omitted), as “[t]he injunctive processes are a means of effecting general

compliance with national policy as expressed by Congress, a public policy judges too

must carry out—actuated by the spirit of the law and not begrudgingly as if it were a

newly imposed fiat of a presidium,” Mitchell v. Pidcock, 299 F.2d 281, 287 (5th Cir.

1962).

         The APA authorizes district courts to enjoin unlawful agency action on a
nationwide basis. See 5 U.S.C. § 706 (“The reviewing court shall . . . hold unlawful



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and set aside agency action . . . .”). When a district court vacates an invalid agency

rule, the effect is felt nationwide. “When a reviewing court determines that agency

regulations are unlawful, the ordinary result is that the rules are vacated—not that

their application to the individual petitioners is proscribed.” Nat’l Mining Ass’n, 145

F.3d at 1409 (quotation marks and citation omitted). The Supreme Court has

indirectly affirmed the concept of nationwide relief. In Lujan v. National Wildlife

Federation, Justice Blackmun noted this in dissent, but apparently consistently with

the views of the other eight justices:

       The Administrative Procedure Act permits suit to be brought by any
       person “adversely affected or aggrieved by agency action.” In some cases
       the “agency action” will consist of a rule of broad applicability; and if the
       plaintiff prevails, the result is that the rule is invalidated, not simply
       that the court forbids its application to a particular individual. Under
       these circumstances a single plaintiff, so long as he is injured by the
       rule, may obtain “programmatic” relief that affects the rights of parties
       not before the court.
497 U.S. 871, 913 (1990) (Blackmun, J., dissenting) (citation omitted); cf. id. at 890

n.2 (majority opinion) (noting under the APA, a successful challenge by an aggrieved

individual can affect the entire agency program).

       A nationwide injunction here is appropriate. The Rule applies to all fifty states,

affects millions of Americans who the federal government forces to participate in the

healthcare market, and affects the Plaintiffs, a coalition of private parties and State-
sovereigns not limited to this jurisdiction. The scope of the injury extends to medical

practitioners, providers, and regulators in all corners of the country. Thus,

Defendants should be enjoined from enforcing the Rule nationwide, as this Court has

already done with the preliminary injunction and other courts have done in similar

contexts. See Texas, 809 F.3d at 187–88; Nevada v. U.S. Dep’t of Labor, 218 F. Supp.

3d 520, 533–34 (E.D. Tex. 2016); Texas v. United States, 201 F. Supp. 3d 810, 836

(N.D. Tex. 2016); Nat’l Fed’n of Indep. Bus. v. Perez, No. 5:16-cv-00066-C, 2016 WL
3766121, *46 (N.D. Tex. June 27, 2016).



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                     REPLY TO THE PUTATIVE INTERVENORS


                                     INTRODUCTION

       As Plaintiffs already argued, the putative intervenors failed to show the

elements and evidence necessary for intervention as of right. Pls.’ Br. Opp. Mot. to

Int., ECF No. 140. And if the Court allows them to intervene permissively, it should

place strict limitations on their participation as requested by Plaintiffs. Id. at 11–12.

Thus, State Plaintiffs provide this reply to the putative intervenors’ summary

judgment arguments in case the Court grants their permissive intervention.
       Plaintiffs and Defendants agree that the Rule is unlawful under the APA.

Although Defendants have not filed the administrative record, doing so is not

necessary and would not change the legal analysis. But the putative intervenors want

to blow open this administrative law case and subject Plaintiffs to intrusive and

unnecessary discovery. The Court can decide this case on the record submitted by the

parties, which conclusively establishes that State Plaintiffs have standing to

challenge a rule that imposes regulatory and economic harms on them. The Court

should also reject the putative intervenors’ creative, but non-binding, interpretations

of the Rule and its impact on Plaintiffs. State Plaintiffs adopt by reference the

arguments of the Individual Plaintiffs, except those arising under the Religious
Freedom Restoration Act and the First Amendment. The Rule clearly conflicts with

section 1557 and Title IX, as well as the Spending Clause, the anti-commandeering

doctrine, and sovereign immunity. Thus, the Court should grant summary judgment

to the Plaintiffs.

                                        ARGUMENT

I.     The Court Can Decide the Case on the Record Submitted.

       Ordinarily, summary judgment is appropriate if there are no genuine issues of
material fact, and the moving party is entitled to judgment as a matter of law. Fed.



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R. Civ. P. 56(a). The purpose of summary judgment is to “pierce the pleadings and to

assess the proof in order to see whether there is a genuine need for trial.” Matsushita

Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986) (quoting Fed. R. Civ.

P. 56(e) advisory committee’s note to 1963 amendment).

         But “when a party seeks review of agency action under the APA, the district

judge sits as an appellate tribunal.” Am. Bioscience, Inc. v. Thompson, 269 F.3d 1077,

1083 (D.C. Cir. 2001). “[T]he focal point for judicial review should be the

administrative record already in existence, not some new record made initially in the

reviewing court.” Camp v. Pitts, 411 U.S. 138, 142 (1973).

         Throughout this litigation, putative intervenors have tried to make this case

into something that it is not. This case concerns a federal regulation and whether it

violates the APA, federal law, and the Constitution. While the federal government

has yet to file the administrative record, resolution of the APA claims does not hinge

on the agency’s fact-finding.2 Moreover, the Court can decide the case without the

administrative record. Sierra Club v. U.S. Fish & Wildlife Serv., 245 F.3d 434, 440

n.37 (5th Cir. 2001) (citation omitted). Sex discrimination in section 1557 either

includes gender identity and termination of pregnancy as a matter of law, or it does

not. See INS v. Cardoza-Fonseca, 480 U.S. 421, 447 (1987) (“‘The judiciary is the final
authority on issues of statutory construction . . . .’” (quoting Chevron U.S.A., Inc. v.

Nat. Res. Def. Council, Inc., 467 U.S. 837, 843 n.9 (1984))).

         The facts the putative intervenors seek to gather in their Rule 56(d)

declaration would upend the longstanding rule that the court “may not consider

evidence outside the administrative record when determining whether to uphold

agency action.” Harris v. United States, 19 F.3d 1090, 1096 n.7 (5th Cir. 1994) (citing

Louisiana ex rel. Guste v. Verity, 853 F.2d 322, 327 n.8 (5th Cir. 1988)). Moreover, the

2If the Court believes it cannot proceed without the administrative record, it should order the federal
government to file it within 30 days.



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putative intervenors “may not simply rely on vague assertions that additional

discovery will produce needed, but unspecified facts,” but instead must show with

specificity how the discovery will “create a genuine dispute as to a material fact,” Int’l

Shortstop, Inc. v. Rally’s, Inc., 939 F.2d 1257, 1267 (5th Cir. 1991) (quotation and

citation omitted), and how it “will influence the outcome of the summary judgment

motion,” Am. Family Life Assurance Co. of Columbus v. Biles, 714 F.3d 887, 895 (5th

Cir. 2013). Putative intervenors make little effort to sustain that burden, especially

in light of the fact that the Court need not even consider the administrative record to

render a decision.

       Nor is any of the discovery sought by the putative intervenors necessary to

establish any of the Plaintiffs’ standing. See infra Part II. State Plaintiffs are subject

to the requirements of the Rule and will suffer economic injury if it goes into effect.

The declarations and exhibit provided by Texas are more than sufficient to establish

that the States are injured by the Rule. And it is not necessary for other State

Plaintiffs to produce similar evidence because Article III is satisfied by just “one party

with standing” per claim, Rumsfeld v. Forum for Acad. & Institutional Rights, Inc.,

547 U.S. 47, 52 n.2 (2006).

       Instead, the putative intervenors, as they have done since they first tried to
enter this case, seek to delay and engage in vexatious litigation for the sole purpose

of distracting the Court from the real task at hand—deciding the legality of the Rule.

For these reasons, Plaintiffs oppose their intervention as of right, and consent to

permissive intervention only if the Court limits their participation in specific ways—

including a prohibition on the putative intervenors delaying the case or seeking

discovery. See Pls.’ Br. Opp. Mot. to Int. 5–8, 11–12. The Court can decide the case,

including the Plaintiffs’ standing, on the record currently before it.




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II.      State Plaintiffs Have Standing to Challenge the Rule.

         It is well established that plaintiffs have Article III standing where (1) they

“have suffered an injury in fact,” (2) that injury is “fairly trace[able] to the challenged

action of the defendant,” and (3) it is “likely” that “the injury will be redressed by a

favorable decision.” Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992) (quotation

marks and citations omitted). It is equally well settled that “the presence of once

party with standing is sufficient to satisfy Article III’s case-or-controversy

requirement” when the parties are alleging the same basis for standing, as the State

Plaintiffs and the Individual Plaintiffs are doing here. Rumsfeld, 547 U.S. at 52 n.2;

see McAllen Grace Brethren Church v. Salazar, 764 F.3d 465, 471 (5th Cir. 2014) (“It

is well settled that once we determine that at least one plaintiff has standing, we

need not consider whether the remaining plaintiffs have standing to maintain the

suit.” (citing Nat’l Rifle Ass’n v. Bureau of Alcohol, Tobacco, Firearms, & Explosives,

700 F.3d 185, 192 (5th Cir. 2012))). Thus, the putative intervenors’ concession that

Franciscan Alliance has standing to challenge the Rule renders the consideration of

State Plaintiffs’ standing largely academic.3 Put. Int. Br. 8, ECF No. 155. This is

especially true because Texas has proven standing to challenge the Rule. But putting

that aside, State Plaintiffs clearly have standing to challenge the Rule.
         State Plaintiffs bring this action in their capacities as sovereigns being

pressured to relinquish control over powers reserved to them by the Constitution, to

reevaluate their own laws, and to incur substantial costs in the process. Federal

courts owe States “special solicitude” in the standing analysis. Massachusetts v. EPA,

549 U.S. 497, 520 (2007). This is because States are not ordinary litigants. They “have

a sovereign interest in the power to create and enforce a legal code.” Texas, 809 F.3d


3It is not correct that Franciscan Alliance, or the other Individual Plaintiffs, must prove standing to
challenge every interpretation of the Rule offered by putative intervenors. The putative intervenors’
various interpretations are non-binding on Defendants and irrelevant to this proceeding.



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at 153 (quotation marks and citation omitted). Thus, States have standing to

challenge federal action when it pressures them to “change state law.” Id.

         As the Court already held, there is no question here that the Rule causes “‘an

invasion of a legally protected interest’ that is ‘concrete and particularized’ and

‘actual or imminent, not conjectural or hypothetical.’” Order 16, ECF No. 62 (quoting

Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1548 (2016)). A “particularized” injury is one

that “‘affect[s] the plaintiff in a personal and individual way,’” id. (quoting Spokeo,

136, S. Ct. at 1548), such as when the party establishes a “personal stake in the

outcome of the controversy,” Susan B. Anthony List v. Driehaus, 134 S. Ct. 2334, 2341

(2014) (citation omitted). This includes when it is “an object of the action (or forgone

action) at issue.” Lujan, 504 U.S. at 561. Of course, when “identifying an injury that

confers standing, courts look exclusively to the time of filing.” Loa-Herrera v.

Trominski, 231 F.3d 984, 987 (5th Cir. 2000) (citing Pederson v. La. State Univ., 213

F.3d 858, 870 (5th Cir. 2000)). State Plaintiffs are suffering an injury in fact because

they are objects of the Rule and face increased regulatory and economic burdens.4

         A.    State Plaintiffs are “objects of the regulation” at issue.

         Plaintiffs presumptively have standing to challenge regulations that govern

them personally. See Contender Farms, LLP v. USDA, 779 F.3d 258, 264 (5th Cir.
2015) (“If a plaintiff is an object of the regulation ‘there is ordinarily little question

that the action or inaction has caused him injury, and that a judgment preventing or

requiring the action will redress it.’” (quoting Lujan, 504 U.S. at 561–62)); id. at 266

(“An increased regulatory burden typically satisfies the injury in fact requirement.”

(citation omitted)).

         The question “[w]hether someone is in fact an object of a regulation is a flexible

inquiry rooted in common sense.” Id. at 265. For example, in Association of American

4The putative intervenors focus solely on arguing about State Plaintiffs’ injury in fact, and appear to
concede causation and redressability.



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Railroads v. Department of Transportation, 38 F.3d 582 (D.C. Cir. 1994), challengers

to a regulation argued that a new rule required them to comply with two sets of

regulations enforced by two agencies instead of one. Id. at 585. The court concluded

that standing was satisfied because “the railroads allege that they are materially

harmed by the additional regulatory burden imposed upon them as the result of a

federal agency’s unlawful adoption of a rule.” Id. at 586.

       Here, the Rule clearly regulates State Plaintiffs. It is undisputed that the Rule

applies to States that operate, offer, or contract for health programs and activities

that receive federal funding. 45 C.F.R. § 92.4. States must, “as a condition” of applying

for federal financial assistance, “submit an assurance” that their “health programs

and activities will be operated in compliance with Section 1557 and [the Rule].” Id. §

92.5. States must also designate at least one person in each affected state agency to

“carry out [the] responsibilities under Section 1557,” including “investigati[ng]”

allegations of “noncompliance.” Id. § 92.7. The Rule requires equal access to health

programs or activities based on gender identity and transgendered status. Id. §

92.206. By HHS’s own admission, the Rule impacts all licensed physicians who accept

payments from Medicare and Medicaid—this includes doctors working for a state. 80

Fed. Reg. 54,172, 54,195 (Sept. 8, 2015); 81 Fed. Reg. 31,379, 31,445 (May 18, 2016).
       Because the Rule prohibits discrimination based on “termination of

pregnancy,” it pressures employers, including state employers, who provide

insurance coverage for procedures such as a dilation and curettage for a miscarriage

to cover the same procedure for an abortion. 81 Fed. Reg. at 31,429. Texas, as an

employer of 556,500 people, excludes coverage for abortion in its group health

insurance. State Pls.’ Mot. Summ. J. (“MSJ”) App.014, 124, ECF No. 134.

       Because the Rule prohibits discrimination based on “gender identity,” it

pressures employers, including state employers, and state-employed OB/GYNs who
provide hysterectomy services to also now offer those same services to transgender


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men. 81 Fed. Reg. at 31455; see also id. at 31,429 (“If, for example, an issuer or State

Medicaid agency denies a claim for coverage for a hysterectomy that a patient’s

provider says is medically necessary to treat gender dysphoria, OCR will evaluate the

extent of the covered entity’s coverage policy for hysterectomies under other

circumstances. We noted that OCR will also carefully scrutinize whether the covered

entity’s explanation for the denial or limitation of coverage for transition-related care

is legitimate and not a pretext for discrimination.”).

       The Rule also interferes with State Plaintiffs’ “sovereign interest in the power

to create and enforce a legal code.” Texas, 809 F.3d at 153 (quotation marks and

citation omitted). Whenever “a State is enjoined by a court from effectuating statutes

enacted by representatives of its people, it suffers a form of irreparable injury.”

Maryland v. King, 567 U.S. 1301, 1301 (2012) (Roberts, C.J., in chambers) (citation

omitted); see also Planned Parenthood of Greater Tex. Surgical Health Servs. v.

Abbott, 734 F.3d 406, 419 (5th Cir. 2013) (“When a statute is enjoined, the State

necessarily suffers the irreparable harm of denying the public interest in the

enforcement of its laws.”).

       That irreparable injury is no less real when a federal law—not a federal court—

prevents a State from administering its own law and policy preferences. See Ill. Dep’t
of Transp. v. Hinson, 122 F.3d 370, 372 (7th Cir. 1997) (holding that a State has

standing where it “complains that a federal regulation will preempt one of the state’s

laws” (citing Alaska v. U.S. Dep’t of Transp., 868 F.2d 441, 443 (D.C. Cir. 1989))); see

also Wyoming ex rel. Crank v. United States, 539 F.3d 1236, 1242 (10th Cir. 2008)

(holding that a State has standing to defend the efficacy of its expungement statute

from threatened federal preemption).

       The Rule’s requirements do just that. “[T]he State has a significant role to play

in regulating the medical profession,” Gonzales v. Carhart, 550 U.S. 124, 157 (2007),
as well as “an interest in protecting the integrity and ethics of the medical profession,”


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Washington v. Glucksberg, 521 U.S. 702, 731 (1997). This includes “maintaining high

standards of professional conduct” in the practice of medicine. Barsky v. Bd. of

Regents of Univ. of N.Y., 347 U.S. 442, 451 (1954).

       Texas, for example, zealously protects the physician-patient relationship. The

statewide standard of medical care rests on the principle that Texas doctors must

exercise “independent medical judgment” when treating patients under their care.

Murk v. Scheele, 120 S.W.3d 865, 867 (Tex. 2003) (per curiam). Amid increasing

consolidation in the healthcare industry caused by the ACA, in 2011, the Texas

Legislature redoubled its longstanding commitment to physician-patient autonomy

by prohibiting medical organizations from interfering with, controlling, or directing

“a physician’s professional judgment,” Tex. Occ. Code § 162.0021, and mandating that

they permit physicians to exercise “independent medical judgment when providing

care to patients,” id. § 162.0022.

       In furtherance of these objectives, Texas hospitals must appoint a chief medical

officer who is responsible for adopting policies to ensure that physicians have the

ability to exercise independent medical judgment. Tex. Health & Safety Code

§ 311.083(d). Texas law requires the chief medical officer to report to the Texas

Medical Board any action or event that constitutes a compromise of the independent
medical judgment of a physician in caring for a patient. Id.; 22 Tex. Admin. Code

§ 177.3, .5

       The Rule usurps this standard of care. It discards independent medical

judgment and a physician’s duty to his or her patient’s permanent well-being and

replaces them with rigid commands. The Rule forces physicians who accept Medicare

and Medicaid payments and who operate, offer, or contract for health programs and

activities that receive Federal financial assistance to subject their patients to

procedures that permanently alter or remove well-functioning organs, even though
the physicians’ independent medical judgment advises against such a course of


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action. The Rule also requires physicians to express opinions contrary to what they

deem to be in the patient’s best interest or to avoid even describing medical transition

procedures as risky or experimental. Yet, physicians are “under a duty to make

reasonable disclosure of that diagnosis, and risk of the proposed treatment . . ., as

would have been made by a reasonable medical practitioner under the

circumstances.” Jacobs v. Theimer, 519 S.W.2d 846, 848 (Tex. 1975) (citing Wilson v.

Scott, 412 S.W.2d 299 (Tex. 1967); W. M. Moldoff, Annotation, Malpractice:

physician’s duty to inform patient of nature and hazards of disease or treatment, 79

A.L.R.2d 1028 (1961)).

       The putative intervenors repeatedly argue that State Plaintiffs did not provide

admissible evidence to demonstrate standing. But “[i]n their haste to insist on

additional evidence,” they “completely ignore” that “‘the nature and extent of facts

that must be averred (at the summary judgment stage) . . . in order to establish

standing depends considerably upon whether the plaintiff is himself an object of the

action (or forgone action) at issue.’” Time Warner Cable, Inc. v. Hudson, 667 F.3d 630,

636 (5th Cir. 2012) (quoting Lujan, 504 U.S. at 561). Thus, in Time Warner Cable, the

Fifth Circuit held industry plaintiffs had standing to challenge a state law simply

because it subjected them to different treatment on its face. Id. at 637.
       On its face, the Rule clearly and unequivocally regulates the conduct of States

and usurps state power over the healthcare industry. It would be a waste of judicial

resources to withhold summary judgment and require the States to provide

additional declarations repeating the exact mandates of the Rule. There is no serious

argument that the States are not objects of the Rule. See Texas v. United States, 497

F.3d 491, 496-97 (5th Cir. 2007) (“Texas has suffered the injury of being compelled to

participate in an invalid administrative process, and we agree that standing exists

on this basis.”). State Plaintiffs have standing on this basis alone, but they have also
proven an economic injury.


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       B.     The Rule inflicts economic injuries on State Plaintiffs.

       Although the conclusion that State Plaintiffs are objects of the Rule is

sufficient to confer standing, State Plaintiffs also suffer economic injuries from the

Rule. Increased state outlays “is an injury in fact for standing purposes.” Tex.

Democratic Party v. Benkiser, 459 F.3d 582, 586 (5th Cir. 2006); see also Cooper v.

Tex. Alcoholic Beverage Comm’n, 820 F.3d 730, 738 (5th Cir. 2016) (finding “actual

economic injury” supports standing). If States do not comply with the dictates of the

Rule, and its application to Medicaid funding, then they risk losing their federal

funding. See Nat’l Fed’n of Indep. Bus. v. Sebelius, 567 U.S. 519, 585 (2012) (declaring

that the Secretary of HHS may withhold all ‘further [Medicaid] payments . . . to the

State’ if [he] determines that the State is out of compliance with any Medicaid

requirement” (quoting 42 U.S.C. § 1396c)). Moreover, the Rule requires States to hire

or train employees to carry out its mandates, alter the healthcare facilities and

services they offer, publish certain notices, provide additional health insurance

coverages to employees, and face legal liability and the loss of federal funding if they

fail to comply.

       The Rule requires States to designate “at least one” employee in each affected

state agency to “carry out [the] responsibilities under Section 1557,” including
“investigati[ng]” allegations of “noncompliance.” 45 C.F.R. § 92.7. In other words,

States must hire or train people to enforce the Rule within state workplaces and

state-run healthcare programs.

       The Rule impacts the ability of States to provide healthcare services directly

to the public. See Tex. Gov’t Code § 531.0055 (discussing the Texas Health and

Human Services Commission’s responsibility to provide healthcare directly to the

public); Tex. Health & Safety Code § 12.0115 (same). Texas and other States will be

forced to allocate personnel, resources, and facilities to offer and accommodate the
myriad medical transition procedures now required to be performed under the Rule.


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State healthcare facilities will also be required to open up sex-separated showers,

locker rooms, or other facilities based on individual preference. This is true even in

controlled medical locations where patient access to intimate facilities is often under

the control of healthcare professionals that are supposed to act in the best interests

of the patient. The requirements of the Rule substantially interfere with the control

that Texas and other States legitimately exercise over their healthcare facilities.

       The Rule also requires States to publish notices of the nondiscrimination

provisions of the Rule in communications to beneficiaries, enrollees, applicants,

members of the public, and its own employees. 45 C.F.R. § 92.8. They must also post

the information on state agency websites. Id. And they must advise these people how

to file discrimination complaints with the HHS Office for Civil Rights. Id.

       The Rule requires States to increase health insurance benefits for state

employees, including the abortion and hysterectomy examples explained above. See

81 Fed. Reg. at 31,437 (“[T]he State will be governed by Section 1557 in the provision

of employee health benefits for its Medicaid employees . . . .”). Texas, like the other

State Plaintiffs, will spend more money on state employee benefits to comply with the

Rule’s requirements. Robert Kukla’s declaration explains that approximately 556,500

employees of the State of Texas participated in group health insurance governed by
the Rule. State Pls.’ MSJ App.013. In 2016, Texas paid approximately $2.8 billion in

medical and pharmacy claims. Id. at 014. But Texas excluded from coverage gender

reassignment surgery-related services and non-medically necessary abortion (except

in cases of criminal activity). Id. Thus, the application of the Rule to Texas’s group

employee health insurance alone would cause the state economic harm. Id. Since

Texas continues to exclude these services from its employee group benefits, id. at 122,

124, it continues to have standing to challenge the Rule.

       Finally, the Rule exposes States to legal liability for discriminating based on
gender identity and termination of pregnancy, and exposes them to the loss of federal


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healthcare funding. The Rule provides for “compensatory damages” for violations of

section 1557 in an “appropriate administrative and judicial action[].” 45 C.F.R.

§ 92.301(b). The Rule also provides that the enforcement mechanisms provided under

the civil rights laws cited by section 1557 are available to enforce the Rule’s

requirements. Under Title IX, for example, the federal government may terminate or

refuse to grant funds to any activity found in violation. 20 U.S.C. § 1682. And like

other civil rights statutes, a State may be held liable in a private damages action for

violating Title IX. Davis v. Monroe Cty. Bd. of Educ., 526 U.S. 629, 633 (1999).

       In questioning State Plaintiffs’ standing, putative intervenors hint that they

believe State Plaintiffs need not comply with it. While the States question whether

that concession by the putative intervenors would bind Defendants, who are

responsible for enforcing the Rule, it is doubtful that putative intervenors really mean

the Rule does not apply to the States, since if that were true, putative intervenors’

interest in this case is nullified. Thus, their arguments against State Plaintiffs’

standing ring hollow. State Plaintiffs have standing to challenge the Rule.

III.   The Rule Violates the APA.

       A.     Discrimination on the basis of “sex” does not include
              discrimination on the basis of “termination of pregnancy.”
       By its plain terms, discrimination on the basis of sex, as prohibited by section
1557, Title IX, and other federal civil rights laws, does not include discrimination on

the basis of “termination of pregnancy.” But the Rule says that it does.

       The putative intervenors boldly assert that discrimination on the basis of

termination of pregnancy “has long been recognized as sex discrimination.” Put. Int.

Br. 18. In support of this proposition, they cite the Sixth Circuit’s decision in Turic v.

Holland Hospitality, Inc., 85 F.3d 1211, 1214 (6th Cir. 1996). But Turic’s holding has

not taken root in the Fifth Circuit. A broad search of Fifth Circuit case law reveals no




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similar holdings. See, e.g., EEOC v. Big Lots Stores, Inc., No. 9:08–CV–177, 2009 WL

10677352, at *5 n.3 (E.D. Tex. Oct. 6, 2009).

         Putative intervenors also erroneously claim that the Rule could never be

interpreted as requiring States to provide abortions. While State Plaintiffs appreciate

this concession, it comes with cold comfort because the putative intervenors have no

ability to bind the federal defendants with that concession, and putative intervenors,

by their own admissions, are engaged in aggressive litigation and lobbying against

State Plaintiffs to attack state and federal laws protecting preborn children. Put. Int.

Mot. to Int. App. 3, ECF No. 131. The Rule provides no textual assurance that State

Plaintiffs will not be forced by Defendants or private litigants to provide abortions as

a condition of receiving federal healthcare dollars.5 State Pls.’ MSJ Br. 19–20.

         B.    Discrimination on the basis of “sex” does not include
               discrimination on the basis of “gender identity.”
         The putative intervenors make little attempt to rebut the statutory analysis

showing the Rule is not authorized by Title IX. See State Pls.’ MSJ Br. 11–21. Instead,

they hang their hat on the notion that the plurality opinion in Price Waterhouse v.

Hopkins, 490 U.S. 228 (1989), equates “sex stereotyping” with gender identity

discrimination. Put. Int. Br. 19–25. But the Rule’s prohibition on gender identity

discrimination is not the same as sex stereotyping. The holding in Price Waterhouse
deals with the burden of proof each party bears in Title VII mixed-motive case. 490

U.S. at 232, 258. Dicta in the plurality’s opinion discusses whether employment

decisions based on sex stereotypes can provide sufficient evidence of Title VII sex

discrimination by showing favoritism of one sex over another. Stereotypes based on

sex involve beliefs about how men or women are or should be. For example, a common

old fashioned stereotype was that only men made good leaders.

5If Defendants will concede that “termination of pregnancy” does not require State Plaintiffs to provide
any new access to abortion, then the Court could issue a declaratory judgment to that effect in lieu of
a permanent injunction against that provision of the Rule.



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       Price Waterhouse’s prohibition against sex stereotyping does not help putative

intervenors for two reasons. First, the stereotype must be based on sex. Second, sex

stereotyping is not per se unlawful. The stereotype must systemically favor one sex

over the other. Discrimination on the basis of gender identity fails on both counts. It

is not discrimination on the basis of sex, and does not favor one sex over the other.

       Sex stereotyping is not an independent category of discrimination apart from

sex. An impermissible sex stereotype must be based on sex. “In forbidding employers

to discriminate against individuals because of their sex,” Price Waterhouse explained,

“Congress intended to strike at the entire spectrum of disparate treatment of men

and women resulting from sex stereotypes.” Id. at 251 (quotation marks and citation

omitted). A sex stereotype claim is viable, therefore, “only to the extent it provides

evidence of favoritism of one sex over the other.” Wittmer v. Phillips 66 Co., 915 F.3d

328, 339 (5th Cir. 2019) (Ho, J., concurring). Put simply, “sexual stereotyping is sex

discrimination.” Zarda v. Altitude Exp., Inc., 883 F.3d 100, 158 (2d Cir. 2018) (Lynch,

J., dissenting), cert. granted No. 17-1623, 2019 WL 1756678 (U.S. Apr. 22, 2019). It

is one’s status as male or female— not one’s gender identity—that leads to the

forbidden sex stereotyping prohibited by Price Waterhouse. Thus, Price Waterhouse

does not bar gender identity discrimination.
       Moreover, sex stereotyping is not per se unlawful under Title VII. Wittmer, 915

F.3d at 339 (Ho, J., concurring). To be actionable, one sex must be “systemically

disadvantaged” as a result of the stereotype. Zarda, 883 F.3d at 158 (Lynch, J.,

dissenting). Courts have upheld policies setting different hair-length and physical-

fitness requirements for men and women so long as they do not categorically favor

one sex over the other. Id. at 150–51 (collecting cases). The debate over access to

restrooms further demonstrates that gender identity discrimination does not

“systematically” disadvantage individuals on the basis of sex. Title IX expressly
protects the well-established and widespread practice of differentiating living


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facilities and restrooms on the basis of sex for privacy reasons. 20 U.S.C. § 1686; 34

C.F.R. § 106.33. Sex-designated living facilities and bathrooms may systemically

favor cisgender over transgender individuals. But they do not systemically favor

women vis-à-vis men, or men vis-à-vis women. For that reason, they are not a sex

stereotype actionable under Price Waterhouse.

       The bathroom example highlights the fundamental point that putative

intervenors miss. The basis of sex discrimination law, as it currently exists, is

biological sex. By contrast, there is no broad consensus—much less federal law—on

the proper approach to treating individuals with gender dysphoria, the clinical term

for the feeling of disconnect between one’s gender identity and sex at birth. See, e.g.,

Jesse Singal, When Children Say They’re Trans, THE ATLANTIC, July/Aug., 2018

(describing the “growing number of people” who regret transitioning to a different sex

and later detransition); Katherine Cave, The Medical Scandal that the Mainstream

Media Ignores, PUBLIC DISCOURSE, Apr. 8, 2019 (“I am liberally-minded in my

political beliefs. [When my daughter announced she was transgender], I was

pressured to consent to puberty-blocking drugs, with assurances that they were safe

and well-studied. My research later confirmed that this was not true.”). The role of

federal agencies is to implement and execute the law—not to conduct social
experiments without Congressional authorization. The Rule cannot redefine sex

discrimination.

       The putative intervenors also grossly exaggerate the holding of EEOC v. Boh

Brothers Construction Co., LLC, 731 F.3d 444 (5th Cir. 2013) (en banc). There, a

divided Fifth Circuit sitting en banc held that a plaintiff may prove sex discrimination

by members of the same sex by providing evidence of sex stereotyping. Id. at 456. In

other words, in an all-male work environment, like Boh Brothers Construction

Company, a male employee may establish a sexual harassment claim under Title VII
with evidence that his coworkers or supervisors thought he was not tough enough—


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not male enough. The court’s holding does not speak to whether gender identity can

be included as sex discrimination under Title VII; it only confirms that sex

stereotyping, as conceived in Price Waterhouse, must be based on one’s biological sex.

       Importantly, however, the Fifth Circuit recently reiterated that it has long

“held that Title VII does not prohibit discrimination on the basis of sexual

orientation.” Wittmer, 915 F.3d at 330 (citing Blum, 597 F.2d 936). The putative

intervenors try to distinguish Judge Ho’s concurring opinion in the case, Put. Int. Br.

23 n.3, but overlook the majority’s statement that Title VII’s prohibition on sex

discrimination includes neither sexual orientation nor transgender status. Wittmer,

915 F.3d at 330. Of course, it is worth noting that Judge Ho’s concurring opinion

supports the position of the Plaintiffs in this litigation. See id. at 333 (“For four

decades, it has been the uniform law of the land, affirmed in eleven circuits, that Title

VII of the 1964 Civil Rights Act prohibits sex discrimination—not sexual orientation

or transgender discrimination.”). And, as explained above, there is no reason to delay

resolution of this case based on the recent cert grants in Altitude Express, Bostock,

and Harris Funeral Homes because the Supreme Court will not hear or decide those

cases until next term. See supra note 1. Thus, the Court should vacate the Rule as

unlawful under the APA.

IV.    The Rule Violates the Spending Clause of Article I and the Anti-
       Commandeering Doctrine of the Tenth Amendment.
       The putative intervenors launch two salvos against State Plaintiffs’ Spending

Clause and anti-commandeering claims. First, they argue the clear notice

requirement for Congress’s spending powers does not apply to section 1557. Second,

they argue that because HHS promulgated the Rule pursuant to a Spending Clause

statute, its requirements cannot commandeer States. Both attacks miss their mark.




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       A.     The Rule violates the clear notice doctrine.

       The putative intervenors fail to distinguish Arlington Central’s clear notice

doctrine or provide any explanation as to how the Rule’s addition of a categorical

prohibition on gender identity and termination of pregnancy discrimination has ever

been, or ever could be, protected under Title IX. They also fail to distinguish the Fifth

Circuit cases that apply the clear notice doctrine “stringent[ly].” See State Pls.’ MSJ

Br. 23 (citing cases). Instead, putative intervenors discuss when federal funding

recipients may be liable for damages under Title IX. Put. Int. Br. 27–28.

       State Plaintiffs do not dispute that one may maintain a private damages action

against a federal funding recipient for intentional conduct that violates the terms of

Title IX. Davis, 526 U.S. at 642. Section 1557 points to that framework, but it and

the Rule fail to provide States with clear notice that sex discrimination now includes

gender identity and termination of pregnancy discrimination. Congress may offer

States money to carry out a federal program, but neither it nor HHS may change the

terms of that contractual relationship without providing “clear notice” to the States

in the text of legislation.

       Section 1557 applies to “any health program or activity” that receives “Federal

financial assistance.” 42 U.S.C. § 18116. But the operative protected classes in the
anti-discrimination laws that section 1557 relies on, particularly Title IX, do not

“unambiguously” include gender identity and termination of pregnancy. Pennhurst

State Sch. & Hosp. v. Halderman, 451 U.S. 1, 17 (1981). Put another way, when

States decided to accept federal funding, they did not have “clear notice” that they

would be forced to prohibit discrimination on those grounds. Arlington Cent. Sch.

Dist. Bd. of Educ. v. Murphy, 548 U.S. 291, 296 (2006). The addition of prohibitions

on gender identity and termination of pregnancy discrimination were never

“voluntarily and knowingly” accepted by States as limitations on federal healthcare
funding. Id. Thus, the Rule violates the Spending Clause.


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       B.     The Rule commandeers States.

       Putative intervenors also claim that Spending Clause legislation may never

coerce or commandeer States. Put. Int. Br. 29–30. In support, they cite NFIB for the

proposition that “Congress may use [the Spending Clause] to grant federal funds to

States, and may condition such a grant upon the States taking certain actions that

Congress could not require them to take.” 567 U.S. at 576 (quotation marks and

citation omitted). The Court goes on to say—and putative intervenors fail to quote—

that there are “recognized limits on Congress’s power under the Spending Clause,”

which includes the requirement that States “voluntarily and knowingly accept[] the

terms of the contract.” Id. at 576–77 (internal quotation marks and citations omitted).

When “the State has no choice” the federal government commandeers state power in

violation of the Constitution. Id. at 578 (citing Printz v. United States, 521 U.S. 898

(1997); New York v. United States, 505 U.S. 144 (1992)). As in NFIB, the Rule’s

inclusion of gender identity and termination of pregnancy discrimination applies to

all federal healthcare funding received by the States, including current Medicare

payments. The putative intervenors claim there is insufficient evidence showing how

much money is at stake, but such numbers are readily available in admissible public

records and in the evidence proffered by State Plaintiffs in support of their motion.
See State Pls.’ MSJ App.014 (describing the impact of the Rule only as to state

employees in Texas). Thus, as stated in State Plaintiffs’ prior briefing, the Rule

commandeers state power. State Pls.’ MSJ Br. 30–35.

V.     The Rule Unlawfully Invades States’ Sovereign Immunity.

       The putative intervenors argue that section 1557 waives state sovereign

immunity. Put. Int. Br. 31–32. Abrogation of Eleventh Amendment immunity must

be “unmistakably clear in the language of the statute.” Nevada Dep’t of Human Res.

v. Hibbs, 538 U.S. 721, 726 (2003) (emphasis added). Congress must also act pursuant
to a valid exercise of its power under section 5 of the Fourteenth Amendment. Id. To


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determine if Congress acted validly, the Fifth Circuit applies the following test: “(1)

The statute must contain an unequivocal statement of congressional intent to

abrogate; (2) Congress must have identified a history and pattern of unconstitutional

action by the states; and (3) the rights and remedies created by the statute must be

congruent and proportional to the constitutional violation(s) Congress sought to

remedy or prevent.” Pace v. Bogalusa City Sch. Bd., 403 F.3d 272, 277 (5th Cir. 2005).

Putative intervenors claim 42 U.S.C. § 2000d-7, which abrogates state sovereign

immunity under various civil rights statutes, abrogates sovereign immunity under

section 1557. But section 1557 makes no such declaration. Instead, section 1557 says

that enforcement mechanisms available under Title IX are permissible under the

ACA. 42. U.S.C. § 18116. Section 1557 contains no language concerning abrogation,

identifies no history of unconstitutional action by the States, and there are no

constitutional violations to remedy that would be proportional to the massive

invasion of state sovereignty caused by the section. Thus, the Rule violates the

Eleventh Amendment.

                                       CONCLUSION

       State Plaintiffs respectfully request that the Court declare the Rule unlawful,

set it aside, and permanently enjoin its enforcement.




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   Respectfully submitted this the 3rd day of May, 2019.


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                              CERTIFICATE OF SERVICE
       I hereby certify that on May 3, 2019, I electronically filed the foregoing

document through the Court’s ECF system, which automatically serves notification

of the filing on counsel for all parties.

                                                /s/ David J. Hacker
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